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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION


  SHARON WRIGHT AUSTIN, et al.,

                     Plaintiffs,

               v.                             Case No.: 1:21-cv-00184-MW-GRJ

  UNIVERSITY OF FLORIDA
  BOARD OF TRUSTEES, et al.,

                     Defendants.


               SECOND DECLARATION OF RYAN FULLER

      I am Ryan Fuller, Associate Vice President and Deputy General Counsel,

University of Florida (“UF”).

      1.    Attached hereto as Exhibit 1 is a true and correct copy of UF’s current

policy on Conflicts of Commitment and Conflicts of Interest. In early December,

the policy was revised to include, in footnote 1, the proviso that “[t]his Policy is

subject to the recommendations of the UF Task Force on Outside Activities that were

approved by President Fuchs on November 23, 2021.”

      2.    The policy on Outside Activity and Conflict of Interest in Article 26 of

the Collective Bargaining Agreement between the University of Florida Board of

Trustees and the United Faculty of Florida, 2021-2024, is being and will be applied

the same way. The Task Force recommendations approved by President Fuchs now
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govern the application of the Article 26 policy.

      3.     Attached hereto as Exhibit 2 is a chain of emails exchanged in July 2020

between Dean Laura Ann Rosenbury of the UF Levin College of Law and certain

faculty members, including Professor Kenneth B. Nunn. The emails concern, among

other things, the amicus brief that Professor Nunn wished to join at that time. By

email dated July 12, 2020, Dean Rosenbury advised Professor Nunn that she had

confirmed that UF “will approve this activity” and that the brief may include his UF

affiliation provided that it also indicates his “law school or university affiliation is

included for identification purposes only.”

      4.     The guidance given by Dean Rosenbury to Professor Nunn was then,

and continues to be, UF’s policy. When a UF faculty member receives approval to

join an amicus brief, the brief may identify that person as a University of Florida

faculty member, and include his or her title, so long as the amicus brief also indicates

that the affiliation is provided for purposes of identification only.

      5.     The same day that Dean Rosenbury emailed Professor Nunn, July 12,

2020, UF approved through the UFOLIO system the outside activity requests

submitted by Professor Nunn and by Professor Teresa J. Reid. True and correct

copies of the approval notices are attached hereto as Exhibits 3 and 4. The approval

notices confirmed that the amicus brief could identify Professor Nunn and Professor

Reid as UF professors. In comments written by Dean Rosenbury, both approval

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notices state: “Please ensure that the amicus brief clearly indicates that any law

school or university affiliation is included for identification purposes only.”

      6.     Plaintiffs have submitted the email chain discussed above in paragraph

3 as an exhibit, but that exhibit omits the last two emails between Dean Rosenbury

and Professor Nunn, including the one in which the Dean informed Professor Nunn

that the amicus brief may include his UF affiliation. See Doc. 31-4.

      7.     None of the Plaintiffs in this case has a pending request for approval of

an outside activity.

      8.     On November 5, 2021, UF approved three outside activity requests

submitted by Plaintiff Goldhagen on August 11 (two requests) and September 27,

2021, and previously denied by UF. Each approval stated that the previous decision

was “reversed per President Fuchs’ directive on November 5, 2021.” Each request

involved a request to perform legal consulting.

      9.     On November 16, 2021, Plaintiff Goldhagen submitted a new outside

activity request through the UFOLIO system.           UF approved the request on

November 23, 2021. The request involved a request to perform voluntary service as

the head of an organization that addresses pediatrics issues.

      10.    On December 7, 2021, Plaintiff McDonald submitted a new outside

activity request through the UFOLIO system. On December 8 and December 10,

2021, UF approved the request. The request involved a request to perform legal

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consulting for which Professor McDonald would be compensated.

      11.   Attached as Exhibit 5 is a true and correct copy of the Brief of Appellees

Dr. Hoover and Texas Faculty Association in Hoover v. Morales, No. 97-50734 (5th

Cir.) as found on Westlaw.



      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct. Executed on December 17, 2021.


                                             __________________
                                             Ryan Fuller




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